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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

   UNITED STATES, et al.,

                       Plaintiffs,

         vs.                                           No. 1:23-cv-00108-LMB-JFA

   GOOGLE LLC,

                       Defendant.


        DEFENDANT GOOGLE LLC’S MOTION FOR SUMMARY JUDGMENT

        PURSUANT TO RULE 56(a), Defendant Google LLC (“Google”) moves the Court to

 enter summary judgment in favor of Google. The grounds and reasons for granting this motion

 are stated with particularity in the accompanying memorandum of law and exhibits to the

 Declaration of Bryon Becker in Support of Google’s Motion for Summary Judgment and Motions

 to Exclude.

        A proposed Order is submitted herewith.
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  Dated: April 26, 2024              Respectfully submitted,

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